Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 1 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 2 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 3 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 4 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 5 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 6 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 7 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 8 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document      Page 9 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 10 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 11 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 12 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 13 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 14 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 15 of 16
Case 19-53270-sms   Doc 44    Filed 07/22/19 Entered 07/22/19 16:30:36   Desc Main
                             Document     Page 16 of 16
